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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION


CHERRISE L. LILE                                                            PLAINTIFF


       v.                             CIVIL NO. 21-5097


ANDREW M. SAUL, Commissioner                                                DEFENDANT
Social Security Administration

                                            ORDER

       On May 28, 2021, Plaintiff filed a Complaint pursuant to 42 U.S.C. § 405(g) seeking

judicial review of a decision of the Commissioner of the Social Security Administration. (Doc. 2).

Plaintiff filed a request for leave to proceed in forma pauperis (IFP) on the same date. (Doc. 3.).

After review, it is found that Plaintiff is unable to pay for the costs of commencement of suit and,

accordingly, the following order is entered this 1st day of June 2021:

       IT IS HEREBY ORDERED that Plaintiff's motion for leave to proceed in forma pauperis

is granted. The Court hereby directs that a copy of the complaint, along with a copy of this order,

be served by the Plaintiff by certified mail, return receipt requested, on the Defendant, Andrew M.

Saul, Commissioner, Social Security Administration, as well as, Merrick Garland, U.S. Attorney

General, and Candace Taylor, Assistant U.S. Attorney. The Defendant is ordered to answer within

sixty (60) days from the date of service.

       IT IS SO ORDERED.

                                             /s/ Christy Comstock
                                             HON. CHRISTY COMSTOCK
                                             UNITED STATES MAGISTRATE JUDGE
